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                    IN THE UNITED STATE DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,               )
ex rel. [UNDER SEAL],                   )      CIVIL ACTION No. 20-232
                                        )
                  Plaintiff,            )
                                        )      FILED UNDER SEAL PURSUANT
     vs.                                )      TO 31 U.S.C. § 3730(b)(2)
                                        )
[UNDER SEAL],                           )
                                        )
                  Defendants.           )




                                UNDER SEAL
                    DO NOT PUT ON PACER
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                            )
ex rel., INTERNATIONAL BROTHERHOOD                   )      Civil Action No. 20-232
OF ELECTRICAL WORKERS,                               )
LOCAL UNION NO. 126,                                 )
                                                     )
                       Plaintiff,                    )
                                                     )      FILED UNDER SEAL
                v.                                   )      PURSUANT TO
                                                     )      31 U.S.C. § 3730(b)(2)
JOSEPH B. FAY CO.,                                   )
GLENN O. HAWBAKER, INC., and                         )
DIXON ELECTRIC, INC.                                 )
                                                     )
                       Defendants.                   )


  THE UNITED STATES OF AMERICA’S NOTICE OF ELECTION TO INTERVENE,
 IN PART, FOR PURPOSES OF SETTLEMENT AND TO DECLINE TO INTERVENE,
                               IN PART

       The United States of America, pursuant to the False Claims Act (“FCA”), 31 U.S.C.

§ 3730(b)(2) and (4), and in accordance with this Court’s prior Orders and the Local Rules of this

Court, notifies this Court of its decision to intervene in this action, in part, for purposes of

effectuating a settlement with Dixon Electric, Inc. (“Dixon”) related to certain conduct alleged in

the qui tam Complaint (as described more fully below), and to decline to intervene, in part, (1) to

the remaining allegations in the Complaint and (2) as to two (2) other named Defendants, Joseph

B. Fay Co. (“Fay”), and Glenn O. Hawbaker, Inc. (“Hawbaker”), as more fully described below:

       1.       On November 13, 2020, the International Brotherhood of Electrical Workers, Local

Union No. 126 (“Relator”) initiated this action by filing a qui tam Complaint against Defendants

Fay, Hawbaker, and Dixon. In the Complaint, Relator alleges that Dixon – either as a prime

contractor or subcontractor for Hawbaker or Fay on certain federally funded construction contracts

(“Public Contracts”) with the Pennsylvania Department of Transportation (“PennDOT”) – failed

to pay the appropriate prevailing wage and benefit rate for the trade and type of work that was
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performed, pursuant to the Federal-Aid Highway Acts and the incorporated DBRA, 40 U.S.C. §

3141 et seq.; 29 C.F.R. Pt. 5, and submitted false payroll certifications in violation of the FCA, 31

U.S.C. §§ 3729-32.

        2.       On December 13, 2020, Relator served the United States with a copy of the

Complaint, along with the “written disclosure” required by 31 U.S.C. § 3730(b)(2).

        3.       Since then, the United States has engaged its statutorily required investigation of

Relator’s qui tam allegations; requested and received a series of six-month extensions of the seal

period to enable it to complete its investigation; obtained a partial lift of the seal, in order to provide

a copy of the qui tam Complaint to Defendants; and engaged in fruitful settlement discussions with

Dixon, through its counsel.

        4.       In that regard, the United States and Dixon have reached an agreement in principle

to settle the claims against Dixon related to certain Public Contracts identified in the Complaint

(as described more fully below).

        5.       Therefore, the United States notifies this Court of its intent to intervene, in part, to

finalize its settlement with Dixon under 31 U.S.C. § 3730(c)(3). More specifically, the United

States notifies the Court of its intent to intervene as to the claim that Dixon violated the FCA by

submitting false payroll certifications related to seven (7) of the ten (10) Public Contracts identified

in the Complaint. For various reasons, the United States declines to intervene as to the remainder

of the claims against Dixon and as to the claims against named Defendants Fay and Hawbaker.

        6.       Although the United States declines to intervene in a portion of the action and

against the two (2) other named Defendants, Fay and Hawbaker, the United States respectfully

refers the Court to 31 U.S.C. § 3730(b)(1), which allows the Relator to maintain the declined

portion of the action in the name of the United States. Counsel for the Relator, however, has

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indicated to the undersigned Counsel that Relator does not intend to prosecute any of the declined

claims. The United States acknowledges this position provided that any dismissal of the declined

claims is without prejudice to the United States. 1

       7.       In accordance with this notice, and pursuant to 31 U.S.C. § 3730(c)(3), the United

States also requests that:

                a.     Going forward, all pleadings filed in this action be served upon the United

                       States, and all orders issued by the Court be sent to counsel for the United

                       States;

                b.     Relator’s Complaint, this Notice, the attached proposed Order, and all

                       future filings in this matter, be unsealed;

                c.     All other, previously filed papers in this action remain under seal, because

                       in discussing the content and extent of the United States’ investigation, such

                       papers were provided by law to the Court alone for the sole purpose of

                       evaluating whether the seal and time for making an election to intervene

                       should have been extended.

       8.       Finally, the United States notes that, to the extent a final settlement agreement is

not reached in the next 60 days, the United States reserves its right to file an amended notice of

intervention and to file a complaint in intervention in accordance with 31 U.S.C. §§ 3730(b)(5)

and (e)(4).




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  Notwithstanding the foregoing, the United States reserves its right to intervene – for good cause
and at a later date – in any part of the action that is currently declining. And, to the extent Relator
decides to maintain the declined claims, the United States also reserves the right to seek the
dismissal of any such claim on any appropriate grounds, including under 31 U.S.C. §§ 3730(b)(5)
and (e)(4).
                                                    3
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       WHEREFORE, the United States respectfully informs this Court of its intent to intervene,

in part, in this action, and to assume the prosecution of the case for purposes of effectuating a

settlement with Dixon, and its election to decline, in part, as to certain other allegations in the

Relator’s Complaint related to Dixon and as to two (2) other Defendants, Fay and Hawbaker.     The

United States further requests that the Court enter the attached proposed Order.



Dated: June 23, 2022                                 Respectfully submitted,

                                                     CINDY K. CHUNG
                                                     United States Attorney


                                                     /s/ Ryan J. Wilk
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